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                              UM TED STATES DISTRICT CO UR T
                              SO UTH ERN DISTR ICT O F FLO RID A

                                  CASE NO.19-crQ0535-AH S(s)

    UNITED STA TE S O F A M ERICA

    VS.

    ASHTON GARY LEkqxsox,
           a/k/a RA ce,''

           D efendant.
                                          /

                                       FA CTUA L PR O FFER

           D efendant,A sllToN GARY LEW W SON ,a/lc/açW ce,''hiscounsel,andtheUnited States

    agree that,had this case proceeded to trial,the United States would have proven the follow ing

    factsbeyond a reasonable doubt:

           From on or about M ay 13,2019,through on or about June 7,2019,LEW W SON did

    knowingly,in and affecting interstate and foreign com merce,recruit,entice,harbor,transporq

    provide,obtain,advertise,and m aintain by anym eansaperson,thatis,M IN OR VICTIM ,know ing

    thatM IN OR V ICTIM had notattained the age of 18 years and w ould be caused to engage in a

    com m ercialsex actin M iam i-D ade and Brow ard Counties,Florida.

           LEW INSON'Soffenseconductinvolvedprostitutinga13yearoldminorfemale(CCMINOR
    V1CTIM'').From on oraboutM ay 13,2019,to June 7,2019,Jeremiah Horenstein,Racquel
    LavetteBijou,andLEW W SON tookMW OR VICTIM toengageinatleast100commercialsex
    acts atççout-calls''and hotels.LEW IN SON knew M W OR V ICTIM w asunder 18 yearsofage or

    he had a reasonable opportunity to observe M IN OR V ICTN ,w ho looks youngerthan 18 years

    ofage.
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       1.      Comm ercialSexActswith Horenstein,Biiou,and LEW INSON

            On or about M ay 13,2019,BIJOU m et M IN OR VICTIM at a m utual friend's hom e.

    BIJOU asked ifM INOR VICTIM wanted to m ake m oney and told herto callw hen shew asready

    to do so.BIJOU explained thatthe w ay thatM IN OR VICTIM w ould be m aking m oney wasfor

    MW OR VICYIM toengagein sexinexchangeformoney.Sometimelater,MW OR VICTN
    called BIJOU .

            MW OR VICTIM toldHORENSTEIN,BIJOU,and LEW INSON thatsàewas17years
    old,and BIJOU told M INOR V ICTIM to tell everyone that she w as 21.H OREN STEW told

    M W OR VICTIM thatsinceM W OR VICTIM wouldbeturning 18soon,(tthechargewoulyn'tbe
    thatheavy.''M W OR VICTN stated thatLEW W SON told M IN OR V ICTN thathe Gtdid fraud,''

    so M W OR VICTIM asked him ifhe could gether two fake ID sbecause she suspected thatshe

    had awarrantforherarrestasa runaway juvenile and could notgetone herself.She ajked
    LEW INSON foroneIb statingthatshewas17andtheotherstatingthatshewas21.LEW INSON
    said thathe would check with his contacts,butLEW W SON w as neverable to produce a fake ID

    forM IN OR V ICTIM .

            BIJOU told M IN OR VICTN that they w ould splitthe m oney and instructed M W OR

    VICTIM to m ake the Gtdates''feel very com fortable.M W OR VICTN w as supposed to start

    rubbing the dates to m ake sure they w ere notw earing a w ire and ask tcwhere are the roses,''in

    reference to the m oney.M W OR V ICTIM w asthen supposed to take the m oney and puti'
                                                                                        tin the

    hotelroom safe.

            BIJOU told M W OR V ICTN to textBIJOU w iththew ord,(Cin''w ith theam ountofm oney

    collected from eâch date and then tûout''when the date left.A review ofM W OR VICTIM 'Sphone

    showsthatM INOR VICTIM textedBIJOU asinstructed.
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           BIJOU told M IN OR VICTIM to take pictures of herself so that she could send them to

    Potehtialclients.BIJOU alsotoldMINOR VI/TIM theyneededtobeselfiessothattheylooked
    real.M INOR VICTIM sentthephotos shetook to both BIJOU and H OREN STEIN .

           A review of M IN OR V ICTIM 'S phone show s that on June 5,2019, at 1:04:36 p.m .,

    M W OR V ICTN sent 8 selfie photographs to H OREN STEIN atphone num ber 772-672-9559

    (HORENSTElN-9559).HORENSTEIN admittedthatHORENSTEIN-9559washisnumber.The
    photographs included pictures ofM INOR VICTIM 'S chestw ith hernipple exposed,close ups of

    her buttocks w earing only panties,and hergenitalarea w earing only panties.Thesepictures can

    be found on num erous online ads. For exam ple, these picm res can be found on ads

    w ww .listcraw ler.com dated June 2,3,and 4 and on ww w.m eggpersonals.com dated June 2,4,and

    5. The advertisem bnts listed phone num bers that were controlled by either BIJOU or

    H OREN STEIN ,and either BIJOU orH OREN STEIN w ould com municate w ith the clients who

    responded to the advertisem ents.

           Upon receiving the m oney from thesesex acts,M IN OR VICTIM w ouldtransferthem oney

    to BIJOU, who w ould give the m oney to H OREN STEW , and H OREN STEW w ould pay

    LEW IN SON a portion of the m oney.LEW IN SON w as alw ayspresentw hile M INOR VICTIM

    wasw ith a date.Should any of the dates get violentw ith M W OR VICTN ,LEW W SON was

    supposed to assistM W OR V ICTIM .O n atleastone instance,on M ay 29,2019,at9:04:38 p.m .,

    BIJOU texted M W OR VICTIM ,GiW hy he lefq''and M INOR VICTIM explained,K(Heheard ace

    Ithink.''lnanothermessage,onMay31,2019,at2:34:34a.m.,BIJOU textedM INO; VICTN ,
    çdpassthe bread to acey''w hich w as an instruction to give LEW W SON them oney.
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                Either H OREN STEIN , BIJOU , or LEW IN SON would provide condom s for M IN OR
                h

    VICTIM .Forèxam ple,on June 4,2019,atapproxim ately 10:18:04 p.m ,BIJOU texted M W OR
                                                                      -
                                                                       .
                                                                                  '         .



    VICTIM ,(COk going to buy condom s.''

                Additionally,MW OR VICTIM stated thatLEW W SON would provide mari
                                                                                juana for
    M W OR V ICTIM to sm oke.During avost-M iranda interview ,BIJOU stated thatH OREN STEW

    would provide her(BIJOUI marijuana to smoke.Additionally,HORENSTEW ,BIJOU,and
    LEW INSON offeredççpackages''forthek workinggirlsthatincluded marijuana.W hen BIJOU
            I
    was arrested,she w as in possession of a binder thatoutlined Stpackages.''The ttcare Package,''

    which was based on a 60/40 split,included Etsm oking/drinking habits''provided to the w orking

    girl.

                (
                M IN OR VICTIM furtherstated thatLE'
                                                   W IN SON and BIJOU w ould also providecocaine,

    thougizshedidnotdococainefrequently.M INOR VICTN alsostatedthatsomeofthelElohns''
    wffuldprovidecocaineancl/ormarijuana.
                H OREN STEW ,BIJOU ,and LEW INSON tOOItM W OR VICTIM to engage in com m ercial

    sex actsatout-callsand hotels.

                    a. O ut-calls

                HORENSTEIN,BIJOU,and LEW W SON took M W OR VICTIM to ajproximately 25
    outcalls between M ay 29,2019,and June 5,2019.The group wentto the out-calls in a white

    M ercedesBenz.EitherH OREN STEm orLEW W SON w ould drive.Priorto the M RN OR V ICTN

    m eeting w ith the date,BIJOU w ould state how long the datesw ould be and whatthey w ould be

    for(e.g.(Chead,''Stquickvisit''halfhour,hour,etc.).MINOR VICTN statedthatone-iourdates
    didnothappenfrequently,andwhentheydid,.MlNOR VICTIM andthedatewouldengageinsex,
    sm oke7and then (thang out.''
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               b. H otels

           HOREN STEIN,BIJOU ,and LEW IN SON took M INO R VICTN to prostitution datesat

    Hotel 1,H otel2,and H otel3,a1lin M iam i,Florida.Each ofthese locations isdiscussed below .

                      i. H otel1:M ay 29 - 30,2019

           M W OR VICTN stated thatBIJOU sentan Uberforherand broughtherto Hotel1in

    N orth M iam iw here HOREN STEIN ,BIJOU,and LEW INSON were a1lw aiting forherin a hotel

    room .A review ofH OREN STEIN 'SUberaccountshow sthaton M ay 29,2019,therew asan Uber

    ride from a location in M iam ishores to Hotel 1,located on Biscayne Boulevard,N orth M iam i, .

    Florida.

           M INOR VICTIM stated thatshew asinstructed atH otel1to go down to thelobby to m eet

    the dates and bring them back up to the room .HOREN STEIN,BIJOU ,and LEW INSON w ould

    either be at work or in the room on the balcony w hile M IN OR VICTN w as engaging sexual

    conductw ith the date.

           Recordsfrom H otel1show thata(tlerem iah H OREN STEW ''checked in on M ay 29,2019,

    checked out on M ay 30,2019,and then again checked in on M ay 30,2019,and checked outon

    M ay 31,2019.

           Law enforcem ent fotmd advertisem ents of M INOR V ICTIM on listcraw ler.com for the

    dates ofM ay 29,M ay 30,and M ay 31,w ith the location of (tBiscayne''and (tBiscayne Blvd.''
                                                                                           I
    M any of these are adveitisem ents w ere associated w ith a telephone num ber controlled by

    Horensteinand/orBijou.
           M W OR V ICTIM 'Sphone also show ed a connection to the w ifinetwork w ith the nam e of

    thehotel,GGl
               ilestW estern N orth M iam i Guest''on M ay 30 and 31,2019.

                     ii. H otel2:M ay 31 - June 1,2019
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             Records received from H otel 2 near the M iam i A irport show that on M ay 31, 2019,

    H OREN STEIN checked in using a credit card in H OREN STEIN 'S nam e and H OREN STEINL

    9559,am ong otheridentifiers.

             V ideo surveillance from the check in show H OREN STEW and BIJOU checked in w ith

    the frontdesk at 1:30 p.m .A ftercom pleting check in,HOREN STEIN and BIJOU w alked outof

    thehoteland into theparking lot.Atapproxim ately 1:36 p.m .,the security footage overthe front

    desk show s H OREN STEIN and BIJO U walking back ilito the hotel, this tim e w ith M m OR
         .




    V ICTIM ,w alking past the front desk and tow ards the elevators.At approxim ately 1:40 p.m .,

    LEW INSON is captured in the surveillance footage w alking past the front desk in the sam e

    direction as H OREN STEIN ,BIJOU ,and M W OR V ICTN .LEW W SON was follow ed by tw o

    additionalfem ales,w ho w ere girlswho w ere also thereto have sex w ith dates.

             Law enforcem ent also discovered an advertisem ent of M INOR VICTIM                  on

    listcrawlencom forJune 1,withthelocationofCIMJ.
                                                  A Airport,(Hotel2j,Hialeah-''Additionally,
    areview ofM W OR VICTN 'Sphoneshow ed aconnection to wifinetworksassociatedw ith H otel



                      iii. H otel3:June 1-5,2019

             Records from Hotel3,located on Biscayne Blvd.,M iam iShores,show thata Etlerem iah

    HOREN STEIN''checked in on June 1,2019,and checked outon June 2,2019,and checked back

    in on June2,2019,and checkedback outon June3,2019.HORENSTEIN providedthe addresj
    and driver's license num ber listed on hisrecords with Florida's D riverand V ehicle lnform ation

    D atabase.H OREN STEW paid cash forboth ofthenights.
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           Law enforcem ent found several online advertisem ents soliciting M IN OR VICTN for

    commercialsexactsatHotel3.TheseadvertisementswerecontrolledbyHorensteinand/orBi
                                                                                  jou.
    M W OR VICTIM 'Sphone also showsthatshe connected to Hotel3'sw ifi.

           W hile atH otel3,H OREN STEW and B IJOU gotinto a physicalfight.M IN OR VICTIM

    stated thatH OREN STEW hitBIJOU in the face.After the fight,BIJOU called an Uberto take

    them to Souprina BLAN C,who w as staying atan effciency-type ofA irbnb in M iam i.

           U ltim ately,law enforcem entrecovered M IN OR V ICTIM on June 11,2019,atan A irbnb

    in M iam i,Florida.Law enforcem ent responded to the address in an undercover capacity after

    responding to a prostitution ad for M INOR V ICTN .Upon arriving, M W OR VICTN w as

    observed exiting the frontofthe residence.Inside the residence,BLAN C w as found perfonuing

    oralsex on a m ale in the living room ,and anotherfem ale w as found having sex with a m ale in

    anotherroom .

           OnAugust15,2019,HorensteinandBijouwerearrested.InHORENSTEIN'Sphone,law
    enforcem entfound agroup chatwith LEW INSON ,BIJOU ,H OREN STEIN ,and afem alebelieved

    to be l8-yearsold.Theconversation goeson from June 8-10,2019.Thechatsarea1laboutteaching

    and instructing the fem ale how to engage the prostitution dates and to com m unicate to the group

    when a date is in and outoftheroom ,w hich wasvery sim ilarto whatM IN OR VICTIM w astold

    todo(i.e.,textG'in)''ûçout.
                              1''andtheamountofmoney).
           LEW IN SON actively participated in this group chat.For example,on June 9,2019,at

    1:33:56 p.m .,LEW INSON texted CçU forgotto txt out''On June 9,2019,at 6:02:23 p.m .,the

    fem ale texted,((Ineed tow eland rag fora shower.''A tapproxim ately 6:03:13 p.m .,LEW IN SON

    responded,Gton top ofthetv.''At6:37:07 p.m .,LEW IN SON texted,li-f'
                                                                       oo dam n long.''A t6:37:10

    p.m ., BIJOU responded E(Y ea.'' At 6:37:31 p.m ., H OREN STEIN sent a text directly to
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    LEW W SON (outsidethegroupchat)thatsaid,ççAceshutupitbeen exactlytm eenminutes.''By
    6:38:26 p.m .,the fem ale texted the group,ç$Out.''At10:3:44 p.m .,LEW INSON texted the group,

    (tl-
       low m uch''? At 10:37:56 p.m .,the fem ale replied,çç80.''A t11:04:50 p.m .,LEW W SON texted

    the group,((W e com eing up.''

             On N ovem ber 19, 2019, LEW INSON w as arrested. In an audio and .video recorded

    intervieW he w aived hisM iranda rights verbally and in w riting.LEW INSON stated thathe knew

    that M W OR W CTIM w as young. LEW IN SON said that H OREN STEIN said that BIJOU

    represented M INOR VICTN to be 17 yearsold.LEW IN SON said thatM IN OR VICTIM looked

    likea nm aw ay.LEW IN SON said thathelooked herup on awebsite called w wm beenveritied.com

    to find outherage,buthe could notfind her.

             LEW IN SON adm itted that his role was to drive girls to H OREN S'T'
                                                                                E W and that

    HOREN STEIN paid him gas m oney. LEW IN SON adm itted to being present w hile M W OR

    VICTIM w asengaged in sex w ith datesathotelsand to transporting M INOR VICTIM to outcalls.

    LEW IN SON explained thatsom etim es he would go in and outon the balcony orstay in another

    room during the sex act. LEW IN SON further adm itted that HOREN STEW asked him to be

    security.A lthough LEW IN SON did notadm itto accepting thatrole,he adm itted to alwaysbeing
         .




    close by when M IN OR VICTN        w as engaging in com m ercial sex acts. LEW IN SON also

    identified him selffrom the surveillance video atH otel2,and he said thatthe two girlsfollowing

    him were prostitutesthathe w astransporting to H OREN STEIN .

             W, ith regard to the incident involving the tw o brothers at H otel 1, LEW W SON

    aclcnow ledged that there w ere two brothers that w ent to engage i.
                                                                       n com m ercial sex acts w ith

    MW ORVICTV ,buthesaidthathesaidhewentdownstairsandthatHORENSTEW istheone
    W ho talked w ith thebrothers.LEW IN SON adm itted to receiving m oney f'
                                                                            rom HOREN STEW for

                                                   8
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    hisrolejbuthe claimed thatitwasno morethan $150.Healso adm ittedto obtaining condoms
    which w ereprovided to M IN OR VICTN .

           Regarding outcalls,he adm itted to driving M W OR VICTN to do outcalls.H e adm itted

    thatheknew thatM IN OR W CTIM w asengaging in com m ercialsex acts,which hecalled EGplays.''

           LEW INSON gave consentto search two phones and a laptop.LEW IN SON claim ed that

    HORENSTEIN and BIJOU used the laptop to postads.A review bfthe làptop showsthataAer
    August 15,2019,when H OREN STEIN and BIJOU w ere arrested and atFD C M iam i,theuserof

    the laptop wentto the sam ew ebsitesthatw ereused to postadsforM INOR VICTIM .ltalso show s

    thatthere w erepictures offem alesthatw ere found in prostitution ads.ltisunclearw hetherthese

    are pictures ofadultsorm inorsbecause they do notdepictthe facesvery w ell.Law enforcem ent

    also discovered w eb history ofLEW IN SON visiting beenverified.com ,which wasthe w ebsitehe

    said hew entto w hen he W assearching the M W OR V ICTIM 'Sbackground.

           A dditiopally,on the laptop,1aw enforcem entdiscovered filescreated underthe (Enotepad''

    program thatlisted approxim ately 111namesofindividuals,which furtherlisted,foreach name,
    a com bination of one or m ore ofthe follow ing personalidentifying inform ation:dates of birth,

    socialsecurity num bers,addrésses,and em ailaddresses.Law enforcem entfurtherfound ahistory

    ofyisitingwebsitesassociatedwith obtainingpersonalidentifyinginformation.Forexample,one

    w ebsite is called Gtw w wr
                              'czbit.m er''which is a w ebsite that sells credit card inform ation.Law

    enforcementfurtherfoundahistol'yotsearchingtovalidatecreditcardnumbers.
           A review ofLEW INSON 'S P hone shows thatLEW W SON used his lnstagram account,

    çtacebuddah,''to recruitother wom en forprostitution and often recruited them in the context of

    joining a dlteam.''Forexample,on June 4,20195at 1:25:28 a.m.,LEW INSON messaged an
    unknownfemale(E$UF-1'')7SsYoufamiliarwithescortbusiness''?1.JF-Ireplied,GEA 1i1fi11mein.''

                                                    9
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     LEW W SON responded,EGW hats yournum ber.''On June 4,2019,at12:36:31a.m .,LEW IN SON

     messagedanunknownfemale(UF-2''),(W iggajustcoolin.Trynagetmeabreadwinneriseeyou
     on yo shitiwasw ondering if you w ork w ith anybody,''and again at 12:36:58 a.m .,ççFollow m y

     team page@bigdaddyjay3o4.''LEW INSON furtherstatedat12:39:17a.m.,lGtmaHustlerbabygirl
     m y broreally nm thisbutw eal1ateam u need ateam w e a1lgotdifferenthu'
                                                                           stlesthatw ecan invest

     in each other.''UF-2 responded,ûT hanks but I'm not with allthat.I'm INDEPENDENT.''
    LEW TN SON respondedj;Elrespectthata TEA M is m ore than 1 and w illalw ays win when u by

    yourselftim e and consistency ishard to keep up with lf u could follow m y page you w illsee in

     due-''

              The use ofthe internet,hotels,A irbnbs,and cellphonesdescribed above affects intérstate

     and foreign com m erce

              The factsdescribed above are not intended to be a com plete recitation ofthe factsofthis  .




     case and arem erely intended to form a basisforthe undersigned defendant'sknow ing,willful,and

     intentiopalplea ofguilty.

                                                  AIUANA FAJW DO ORSHAN
                                                  UN ITED STA T S ATTORN EY

    Dat
      e: n.f/u//zo                        By:
                                                  DANIEL CERVANTES
                                                                       :W
                                                  A SSISTAN T UN ITED STA TES A TTORN EY
    Ilate.
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                    Lut *                 By:#J'
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                                                  DEFEN D ANT


    Date: '               7,.
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